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     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   CRESCENIO DELGADO-ESQUIVEL
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )        No. CR-S-11-00076-LKK
                                     )
12                  Plaintiff,       )
                                     )        STIPULATION AND ORDER TO CONTINUE
13        v.                         )        STATUS CONFERENCE
                                     )
14   CRESCENCIO DELGADO-ESQUIVEL,    )
     et al.,                         )        Date: April 26, 2011
15                                   )        Time: 9:15 a.m.
                    Defendants.      )        Judge: Hon. Lawrence K. Karlton
16   _______________________________ )
17
             IT IS HEREBY STIPULATED between the parties, SAMUEL WONG, Assistant
18
     United States Attorney; DOUGLAS BEEVERS, Assistant Federal Defender,
19
     attorney for defendant CRESCENCIO DELGADO-ESQUIVEL; DANNY BRACE, attorney
20
     for   defendant    ARMANDO    VASQUEZ-BARRAGAN;     DINA   SANTOS,   attorney   for
21
     defendant WALDO PEREZ-MENDOZA; MICHAEL HANSEN, attorney for defendant
22
     NORMA    GONZALEZ;    and   DWIGHT   SAMUEL,   attorney    for   defendant   VICTOR
23
     GONZALEZ, that the status conference of March 8, 2011 at 9:15 a.m., be
24
     vacated, and the matter be set for status conference on April 26, 2011 at
25
     9:15 a.m.
26
             The reason for the continuance to allow defense counsel additional
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     time to review the voluminous discovery that was just recently obtained
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 1   and to investigate the facts of the case. The parties agree a continuance
 2   is necessary for these purposes, and agree to exclude time under the
 3   Speedy Trial Act accordingly.
 4        IT IS STIPULATED that the period from the date of the parties’
 5   stipulation, March 3, 2011 and up to and including the April 26, 2011
 6   Status Conference, shall be excluded in computing the time within which
 7   trial of this matter must be commenced under the Speedy Trial Act,
 8   pursuant to 18 U.S.C §3161(h)(7)(A) and (B)(iv) and Local Code and T4
 9   (ongoing preparation of defense counsel).
10   Dated: March 3, 2011                   Respectfully submitted,
11                                          DANIEL BRODERICK
                                            Federal Defender
12
                                            /s/ Doug Beevers
13                                          DOUG BEEVERS
                                            Assistant Federal Defender
14                                          Attorney for Defendant
                                            CRESCENCIO DELGADO-ESQUIVEL
15
     Dated: March 3, 2011                   /s/ Danny Brace
16                                          DANNY BRACE
                                            Attorney for Defendant
17                                          ARMANDO VASQUEZ-BARRAGAN
18   Dated: March 3, 2011                   /s/Dina Santos
                                            DINA SANTOS
19                                          Attorney for Defendant
                                            WALDO PEREZ-MENDOZA
20
     Dated: March 3, 2011                   /s/ Michael Hansen
21                                          MICHAEL HANSEN
                                            Attorney for Defendant
22                                          NORMA GONZALEZ
23   Dated: March 3, 2011                   /s/ Dwight Samuel
                                            DWIGHT SAMUEL
24                                          Attorney for Defendant
                                            VICTOR GONZALEZ
25
     Dated: March 3, 2011                   BENJAMIN B. WAGNER
26                                          United States Attorney
27                                          /s/ Samuel Wong
                                            SAMUEL WONG
28                                          Assistant U.S. Attorney


     Stip and Order                        -2-
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 1                                          ORDER
 2        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
 3   ordered that the status conference presently set for March 8, 2011, be
 4   continued to April 26, 2011, at 9:15 a.m. Based on the representation of
 5   defense counsel and good cause appearing therefrom, the Court hereby
 6   finds that it is unreasonable to expect adequate preparation for pretrial
 7   proceedings and trial itself within the time limits established in 18
 8   U.S.C. § 3161, the requested continuance is necessary to provide defense
 9   counsel reasonable time necessary for effective preparation, taking into
10   account the exercise of due diligence. The Court finds the ends of
11   justice   to   be   served   by   granting    a   continuance   outweigh   the   best
12   interests of the public and the defendants in a speedy trial.
13        It is ordered that time from the date of the parties’ stipulation,
14   March 3, 2011, up to and including, the April 26, 2011 status conference
15   shall be excluded from computation of time within which the trial of this
16   matter must be commenced under the Speedy Trial Act pursuant to 18 U.S.C.
17   §3161(h)(7)(A) and (B)(iv) and Local Code T4 (allow defense counsel
18   reasonable time to prepare).
19   Dated: March 7, 2011
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     Stip and Order                          -3-
